Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 1 of 19 PageID #:21628




                             EXHIBIT A
                                                    ROBB EVANS & ASSOCIATES LLC
                          Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 2 of 19 PageID #:21629
                                                     Receiver of BC Capital Group, et al.
                                         Receivership Administration Expenses and Fund Balance by Month
                                               From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                 Previously
                                                 Reported           Jan 31, 18     Feb 28, 18      Mar 31, 18      Apr 30, 18      May 31, 18   Jun 30, 18   Jul 31, 18   Aug 31, 18
Fund Transferred In
   BC Capital Group Limited                              0.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Battoo IRA                                       28,640.93            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Concord Capital SPC                              72,000.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Dream Link Enterprises Inc.                       2,500.84            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   FuturesOne F2 Investment Ltd.                     2,481.23            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   MSSB SEP IRA C F                                141,787.45            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Newedge USA, LLC                              8,812,871.06            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   New York Community Bank                           2,919.68            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Parallax Offshore Investors                      60,588.61            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Quantitative Global 3X Fund Ltd               2,403,122.99            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Quantitative Tactical Aggressiv               3,250,909.68            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Quantsoft Advisers LP                         1,290,564.32            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Quantum Blackstar/Brown Propert                 280,000.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Quantum Blackstarltd SA Trust                   113,896.20            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Reed Smith LLP IOLA                          10,981,901.91            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Wells Fargo                                       8,697.12            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Whitebox Con Convert Arb Fund                 1,169,713.37            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
Total Fund Transferred In                       28,622,595.39            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

MF Global Claims
  Futuresone A Investments LMT
     Claim 100002702                               102,333.40            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
     Claim 100002709                               542,281.48            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
  Total Futuresone A Investments LMT               644,614.88            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   Futuresone F1 Investments LTD
      Claim 100002425                                 2,368.47           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Total Futuresone F1 Investments LTD                2,368.47           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   Futuresone F4 Investments LTD
      Claim 100002728                              265,316.72            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Total Futuresone F4 Investments LTD             265,316.72            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

Total MF Global Claims                             912,300.07            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

Fund Rec'd from SEC Settlement                     389,825.64            0.00            0.00            0.00            0.00            0.00        0.00         0.00           0.00
Interest Income                                    125,029.80        2,383.92        2,436.28        2,782.40        2,964.04        3,189.36    3,403.66     3,302.68       2,008.43
Jewelry Auction Proceeds                            11,428.25            0.00            0.00            0.00            0.00            0.00        0.00         0.00           0.00
Legal Retainer Refund                                  857.50            0.00            0.00            0.00            0.00            0.00        0.00         0.00           0.00

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                                                          ROBB EVANS & ASSOCIATES LLC
                                Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 3 of 19 PageID #:21630
                                                           Receiver of BC Capital Group, et al.
                                               Receivership Administration Expenses and Fund Balance by Month
                                                     From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                       Previously
                                                       Reported           Jan 31, 18     Feb 28, 18      Mar 31, 18      Apr 30, 18      May 31, 18   Jun 30, 18   Jul 31, 18   Aug 31, 18
   Storage Unit Auction Proceeds                           1,338.32            0.00            0.00            0.00            0.00            0.00        0.00         0.00           0.00
   Miscellaneous income                                        0.00            0.00            0.00            0.00            0.00            0.00        0.00         0.00           0.00
Total Funds Collected                                 30,063,374.97        2,383.92        2,436.28        2,782.40        2,964.04        3,189.36    3,403.66     3,302.68       2,008.43

Expenses
  Distributions
     Cashier's Check                                            0.00           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
     Domesic Wires                                              0.00           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
     International Wire                                         0.00           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
  Total Distributions                                           0.00           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   Claims Processing Expenses
      Legal Notice Advertising                            51,393.93            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
      Maven Liquidators                                        0.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
      Postage & Delivery                                  11,378.78            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
      Website Support                                        696.46            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Total Claims Processing Expenses                       63,469.17            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   Asset Recovery & Preservation
      Foreign Legal Fees & Costs
         Guernsey
            Babbe
               Legal Fees                              1,542,527.78            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
               Legal Costs                               109,726.04            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
            Total Babbe                                1,652,253.82            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

            Krys Global
               Fees                                      191,109.22            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
            Total Krys Global                            191,109.22            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

         Total Guernsey                                1,843,363.04            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

         Cayman Island
            Charles Adams Ritchie & Duckwor
               Legal Fees                                 37,102.71            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
               Legal Costs                                   229.06            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
            Total Charles Adams Ritchie & Duckwor         37,331.77            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

         Total Cayman Island                              37,331.77            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00


                                                                                                                                                                                    Page 2 of 18
                                               ROBB EVANS & ASSOCIATES LLC
                     Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 4 of 19 PageID #:21631
                                                Receiver of BC Capital Group, et al.
                                  Receivership Administration Expenses and Fund Balance by Month
                                        From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                          Previously
                                          Reported           Jan 31, 18     Feb 28, 18      Mar 31, 18      Apr 30, 18      May 31, 18   Jun 30, 18   Jul 31, 18   Aug 31, 18

Bahamas
  Price Demers & Co.
     Legal Fees                                 700.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
     Legal Costs                                 45.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
  Total Price Demers & Co.                      745.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   Delaney Partners
      Legal Fees                            216,937.26            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
      Legal Costs                             9,087.28            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Total Delaney Partners                   226,024.54            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

Total Bahamas                               226,769.54            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

Monaco
  Donald Manasse
     Legal Fees                              42,511.26            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
     Legal Costs                              9,625.56            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
  Total Donald Manasse                       52,136.82            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   Maitre Geraldine Gazo
      Legal Fees                               5,026.72           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Total Maitre Geraldine Gazo                 5,026.72           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

Total Monaco                                 57,163.54            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
Harney WestWood & Riegels
   Legal Fees                               428,041.60            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Legal Costs                               69,582.58            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
Total Harney WestWood & Riegels             497,624.18            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
Deacons
   Legal Fees                                  3,373.75           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Legal Costs                                    44.52           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
Total Deacons                                  3,418.27           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
Panama
   Patton, Moreno & Asvat
      Legal Fees                             10,000.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
   Total Patton, Moreno & Asvat              10,000.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

Total Panama                                 10,000.00            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
                                                                                                                                                                       Page 3 of 18
                                                      ROBB EVANS & ASSOCIATES LLC
                            Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 5 of 19 PageID #:21632
                                                       Receiver of BC Capital Group, et al.
                                         Receivership Administration Expenses and Fund Balance by Month
                                               From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                 Previously
                                                 Reported           Jan 31, 18     Feb 28, 18      Mar 31, 18      Apr 30, 18      May 31, 18   Jun 30, 18   Jul 31, 18   Aug 31, 18

      United Kindom
        Stewarts Law LLP
            Legal Fees                                2,614.61           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
            Legal Costs                                  23.27           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
        Total Stewarts Law LLP                        2,637.88           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

      Total United Kindom                             2,637.88           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

      Anguilla
        Webster Dyrud Mithcell
            Legal Fees                                5,150.00           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
            Legal Costs                                 974.77           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
        Total Webster Dyrud Mithcell                  6,124.77           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

      Total Anguilla                                  6,124.77           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   Total Foreign Legal Fees & Costs              2,684,432.99            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   JOL Fees & Costs
     Delaney Partners
        Legal Fees                                 509,677.78            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
        Legal Costs                                 12,378.56            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
     Total Delaney Partners                        522,056.34            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

      Pricewaterhouse Coopers
         JOL Fees                                  554,506.12            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
         JOL Staff                                 302,108.63            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
         JOL Costs                                 106,391.85            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
      Total Pricewaterhouse Coopers                963,006.60            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   Total JOL Fees & Costs                        1,485,062.94            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   BVI Judgment Costs                               13,915.50            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
Total Asset Recovery & Preservation              4,183,411.43            0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

Receiver Fees & Expenses
   Receiver Fees
      R. Evans                                       4,975.20            0.00            0.00            0.00            0.00            0.00        0.00         0.00           0.00
      B. Kane                                      288,264.15          452.25          301.50          180.90          241.20        1,025.10    1,809.00       572.85         271.35
                                                                                                                                                                              Page 4 of 18
                                                    ROBB EVANS & ASSOCIATES LLC
                          Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 6 of 19 PageID #:21633
                                                     Receiver of BC Capital Group, et al.
                                        Receivership Administration Expenses and Fund Balance by Month
                                              From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                Previously
                                                Reported           Jan 31, 18     Feb 28, 18      Mar 31, 18      Apr 30, 18        May 31, 18   Jun 30, 18   Jul 31, 18   Aug 31, 18
      K. Johnson                                  141,885.90            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      V. Miller                                    30,361.05            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      A. Jen                                       87,947.55           30.15           30.15            0.00            0.00              0.00      934.65       452.25         180.90
      M. Lin                                      629,501.85            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      L. Lee                                      341,629.65            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      T. Chung                                    568,086.30            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      F. Jen                                      562,538.70        1,507.50        2,261.25        2,984.85        2,291.40            180.90    2,803.95     5,668.20       3,195.90
      C. Callahan                                     427.50            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      C. DeCius                                    19,701.00          180.00          414.00           27.00            0.00             99.00        0.00       198.00           0.00
      H. Jen                                            0.00            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      W. Wu                                         2,387.50            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      N. Wolf                                         300.00            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      I. Perez                                        899.20            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
      M. Chen                                       1,359.00            0.00            0.00            0.00            0.00              0.00        0.00         0.00           0.00
   Total Receiver Fees                          2,680,264.55        2,169.90        3,006.90        3,192.75        2,532.60          1,305.00    5,547.60     6,891.30       3,648.15

   Receiver Expenses
      Appraisal Services                              577.50            0.00            0.00            0.00                0.00         0.00         0.00         0.00           0.00
      Bank Fees                                       694.00            0.00            7.00            0.00               (7.00)        7.00         7.00         1.00           7.00
      Court/Document Filing Fees                      325.29            0.00            0.00            0.00                0.00         0.00         0.00         0.00           0.00
      Database Consulting Services                 10,135.25            0.00            0.00            0.00                0.00         0.00         0.00         0.00           0.00
      Document Destruction                              0.00            0.00            0.00            0.00                0.00         0.00         0.00         0.00           0.00
      Investigative Search Costs                    5,016.31            0.00            0.00           21.21                0.00         0.00         0.00         0.00           0.00
      Occupancy                                         0.00            0.00           70.87            0.00                0.00         0.00         0.00         0.00           0.00
      Office Telephone & Supplies                   2,379.76            0.00            0.00            0.00                0.00         0.00         0.00         0.00           0.00
      Postage & Delivery                            3,372.98            0.00            2.36            0.47                0.00         0.00         0.94        51.66           0.00
      Subpoena & Document Reproductio               2,250.10            0.00            0.00            0.00                0.00         0.00         0.00         0.00           0.00
      Tax Return Preparation                       18,239.47            0.00            0.00            0.00                0.00         0.00         0.00         0.00           0.00
      Travel Expenses                              35,240.78            0.00            0.00            0.00                0.00         0.00         0.00         0.00           0.00
      Website Support                               4,577.94           26.62           31.05            0.00                0.00        17.74        44.36         0.00          22.18
   Total Receiver Expenses                         82,809.38           26.62          111.28           21.68               (7.00)       24.74        52.30        52.66          29.18

Total Receiver Fees & Expenses                  2,763,073.93        2,196.52        3,118.18        3,214.43        2,525.60          1,329.74    5,599.90     6,943.96       3,677.33

Legal Fees & Expenses
   Barnes & Thornburg LLP
      Legal Fees                                  653,290.00            0.00            0.00             0.00              0.00          0.00         0.00         0.00           0.00
      Legal Costs                                  12,144.45            0.00            0.00             0.00              0.00          0.00         0.00         0.00           0.00
   Total Barnes & Thornburg LLP                   665,434.45            0.00            0.00             0.00              0.00          0.00         0.00         0.00           0.00


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                                                       ROBB EVANS & ASSOCIATES LLC
                             Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 7 of 19 PageID #:21634
                                                        Receiver of BC Capital Group, et al.
                                          Receivership Administration Expenses and Fund Balance by Month
                                                From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                  Previously
                                                  Reported           Jan 31, 18     Feb 28, 18      Mar 31, 18      Apr 30, 18      May 31, 18   Jun 30, 18   Jul 31, 18   Aug 31, 18

      Hiltz & Zanzig
         Legal Fees                                 189,523.26            0.00            0.00             0.00              0.00        0.00         0.00    11,287.80           0.00
         Legal Costs                                    426.42            0.00            0.00             0.00              0.00        0.00         0.00       177.30           0.00
      Total Hiltz & Zanzig                          189,949.68            0.00            0.00             0.00              0.00        0.00         0.00    11,465.10           0.00

      McKenna Long & Aldridge LLP
         Legal Fees                                    2,135.70           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
         Legal Costs                                     260.00           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00
      Total McKenna Long & Aldridge LLP                2,395.70           0.00            0.00             0.00              0.00        0.00         0.00         0.00           0.00

   Total Legal Fees & Expenses                      857,779.83            0.00            0.00             0.00              0.00        0.00         0.00    11,465.10           0.00

Total Expenses                                    7,867,734.36        2,196.52        3,118.18        3,214.43        2,525.60        1,329.74    5,599.90    18,409.06       3,677.33
Settlement Payment to BVI                                  0.00           0.00            0.00             0.00              0.00        0.00         0.00         0.00    9,000,000.00

Fund Balance                                     22,195,640.61




                                                                                                                                                                               Page 6 of 18
                                                   ROBB EVANS & ASSOCIATES LLC
                         Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 8 of 19 PageID #:21635
                                                    Receiver of BC Capital Group, et al.
                                         Receivership Administration Expenses and Fund Balance by Month
                                               From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close




                                                  Sep 30, 18       Oct 31, 18       Nov 30, 18        Dec 31, 18        Jan 31, 19     Feb 28, 19     Mar 31, 19    Apr 30, 19
Fund Transferred In
   BC Capital Group Limited                       12,342.11               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Battoo IRA                                          0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Concord Capital SPC                                 0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Dream Link Enterprises Inc.                         0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   FuturesOne F2 Investment Ltd.                       0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   MSSB SEP IRA C F                                    0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Newedge USA, LLC                                    0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   New York Community Bank                             0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Parallax Offshore Investors                         0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Quantitative Global 3X Fund Ltd                     0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Quantitative Tactical Aggressiv                     0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Quantsoft Advisers LP                               0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Quantum Blackstar/Brown Propert                     0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Quantum Blackstarltd SA Trust                       0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Reed Smith LLP IOLA                                 0.00               0.00             0.00              0.00              0.00       44,409.54          0.00         0.00
   Wells Fargo                                         0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Whitebox Con Convert Arb Fund                       0.00               0.00             0.00              0.00              0.00            0.00          0.00         0.00
Total Fund Transferred In                         12,342.11               0.00             0.00              0.00              0.00       44,409.54          0.00         0.00

MF Global Claims
  Futuresone A Investments LMT
     Claim 100002702                                    0.00              0.00             0.00              0.00              0.00            0.00          0.00         0.00
     Claim 100002709                                    0.00              0.00             0.00              0.00              0.00            0.00          0.00         0.00
  Total Futuresone A Investments LMT                    0.00              0.00             0.00              0.00              0.00            0.00          0.00         0.00

   Futuresone F1 Investments LTD
      Claim 100002425                                   0.00              0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Total Futuresone F1 Investments LTD                  0.00              0.00             0.00              0.00              0.00            0.00          0.00         0.00

   Futuresone F4 Investments LTD
      Claim 100002728                                   0.00              0.00             0.00              0.00              0.00            0.00          0.00         0.00
   Total Futuresone F4 Investments LTD                  0.00              0.00             0.00              0.00              0.00            0.00          0.00         0.00

Total MF Global Claims                                  0.00              0.00             0.00              0.00              0.00            0.00          0.00         0.00

Fund Rec'd from SEC Settlement                          0.00              0.00             0.00              0.00               0.00           0.00         0.00          0.00
Interest Income                                     1,866.72          2,390.18         2,193.97          2,267.52           2,267.97         781.77       271.32         21.28
Jewelry Auction Proceeds                                0.00              0.00             0.00              0.00               0.00           0.00         0.00          0.00
Legal Retainer Refund                                   0.00              0.00             0.00              0.00               0.00           0.00         0.00          0.00

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                                                      ROBB EVANS & ASSOCIATES LLC
                            Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 9 of 19 PageID #:21636
                                                       Receiver of BC Capital Group, et al.
                                             Receivership Administration Expenses and Fund Balance by Month
                                                    From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close




                                                       Sep 30, 18       Oct 31, 18       Nov 30, 18        Dec 31, 18        Jan 31, 19     Feb 28, 19      Mar 31, 19    Apr 30, 19
   Fund Transferred
   Storage           In Proceeds
           Unit Auction                                     0.00               0.00             0.00              0.00               0.00           0.00          0.00          0.00
   Miscellaneous income                                     0.00               0.00             0.00              0.00               0.00           0.00          0.00          0.00
Total Funds Collected                                  14,208.83           2,390.18         2,193.97          2,267.52           2,267.97      45,191.31        271.32         21.28

Expenses
  Distributions
     Cashier's Check                                         0.00              0.00             0.00              0.00              0.00     2,408,093.16     63,660.24         0.00
     Domesic Wires                                           0.00              0.00             0.00              0.00              0.00     8,185,675.01    105,950.72         0.00
     International Wire                                      0.00              0.00             0.00              0.00              0.00     1,814,310.21     26,055.57    12,946.13
  Total Distributions                                        0.00              0.00             0.00              0.00              0.00    12,408,078.38    195,666.53    12,946.13

   Claims Processing Expenses
      Legal Notice Advertising                               0.00              0.00             0.00              0.00              0.00            0.00           0.00         0.00
      Maven Liquidators                                      0.00              0.00             0.00              0.00              0.00      186,727.87           0.00         0.00
      Postage & Delivery                                     0.00          1,282.14           294.73              0.00              0.00            0.00           0.00         0.00
      Website Support                                        0.00              0.00             0.00              0.00              0.00            0.00           0.00         0.00
   Total Claims Processing Expenses                          0.00          1,282.14           294.73              0.00              0.00      186,727.87           0.00         0.00

   Asset Recovery & Preservation
      Foreign Legal Fees & Costs
         Guernsey
            Babbe
               Legal Fees                                    0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00
               Legal Costs                                   0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00
            Total Babbe                                      0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00

            Krys Global
               Fees                                          0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00
            Total Krys Global                                0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00

         Total Guernsey                                      0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00

         Cayman Island
            Charles Adams Ritchie & Duckwor
               Legal Fees                                    0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00
               Legal Costs                                   0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00
            Total Charles Adams Ritchie & Duckwor            0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00

         Total Cayman Island                                 0.00              0.00             0.00              0.00              0.00             0.00          0.00         0.00


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                                                 ROBB EVANS & ASSOCIATES LLC
                       Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 10 of 19 PageID #:21637
                                                  Receiver of BC Capital Group, et al.
                                       Receivership Administration Expenses and Fund Balance by Month
                                             From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close




                                                Sep 30, 18       Oct 31, 18       Nov 30, 18        Dec 31, 18        Jan 31, 19   Feb 28, 19     Mar 31, 19    Apr 30, 19
Fund Transferred In
     Bahamas
        Price Demers & Co.
            Legal Fees                                0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
            Legal Costs                               0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
        Total Price Demers & Co.                      0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00

        Delaney Partners
           Legal Fees                                 0.00         (8,843.59)            0.00              0.00             0.00           0.00          0.00         0.00
           Legal Costs                                0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
        Total Delaney Partners                        0.00         (8,843.59)            0.00              0.00             0.00           0.00          0.00         0.00

     Total Bahamas                                    0.00         (8,843.59)            0.00              0.00             0.00           0.00          0.00         0.00

     Monaco
       Donald Manasse
          Legal Fees                                  0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
          Legal Costs                                 0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
       Total Donald Manasse                           0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00

        Maitre Geraldine Gazo
           Legal Fees                                 0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
        Total Maitre Geraldine Gazo                   0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00

     Total Monaco                                     0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
     Harney WestWood & Riegels
        Legal Fees                                    0.00              0.00             0.00          6,000.00             0.00           0.00          0.00         0.00
        Legal Costs                                   0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
     Total Harney WestWood & Riegels                  0.00              0.00             0.00          6,000.00             0.00           0.00          0.00         0.00
     Deacons
        Legal Fees                                    0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
        Legal Costs                                   0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
     Total Deacons                                    0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
     Panama
        Patton, Moreno & Asvat
           Legal Fees                                 0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
        Total Patton, Moreno & Asvat                  0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00

     Total Panama                                     0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
                                                                                                                                                                     Page 9 of 18
                                                  ROBB EVANS & ASSOCIATES LLC
                        Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 11 of 19 PageID #:21638
                                                   Receiver of BC Capital Group, et al.
                                       Receivership Administration Expenses and Fund Balance by Month
                                             From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close




                                                Sep 30, 18       Oct 31, 18       Nov 30, 18        Dec 31, 18        Jan 31, 19   Feb 28, 19     Mar 31, 19    Apr 30, 19
Fund Transferred In
     United Kindom
        Stewarts Law LLP
            Legal Fees                                0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
            Legal Costs                               0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
        Total Stewarts Law LLP                        0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00

      Total United Kindom                             0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00

      Anguilla
        Webster Dyrud Mithcell
            Legal Fees                                0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
            Legal Costs                               0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
        Total Webster Dyrud Mithcell                  0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00

      Total Anguilla                                  0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00

   Total Foreign Legal Fees & Costs                   0.00         (8,843.59)            0.00          6,000.00             0.00           0.00          0.00         0.00

   JOL Fees & Costs
     Delaney Partners
        Legal Fees                                    0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
        Legal Costs                                   0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
     Total Delaney Partners                           0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00

      Pricewaterhouse Coopers
         JOL Fees                                     0.01              0.00             0.00              0.00             0.00           0.00          0.00         0.00
         JOL Staff                                    0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
         JOL Costs                                    0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
      Total Pricewaterhouse Coopers                   0.01              0.00             0.00              0.00             0.00           0.00          0.00         0.00

   Total JOL Fees & Costs                             0.01              0.00             0.00              0.00             0.00           0.00          0.00         0.00

   BVI Judgment Costs                                 0.00              0.00             0.00              0.00             0.00           0.00          0.00         0.00
Total Asset Recovery & Preservation                   0.01         (8,843.59)            0.00          6,000.00             0.00           0.00          0.00         0.00

Receiver Fees & Expenses
   Receiver Fees
      R. Evans                                        0.00              0.00             0.00              0.00             0.00           0.00         0.00          0.00
      B. Kane                                       693.45          1,597.95           301.50            603.00             0.00           0.00       211.05         90.45
                                                                                                                                                                    Page 10 of 18
                                                  ROBB EVANS & ASSOCIATES LLC
                        Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 12 of 19 PageID #:21639
                                                   Receiver of BC Capital Group, et al.
                                        Receivership Administration Expenses and Fund Balance by Month
                                              From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close




                                                 Sep 30, 18       Oct 31, 18       Nov 30, 18        Dec 31, 18        Jan 31, 19      Feb 28, 19     Mar 31, 19    Apr 30, 19
Fund Transferred
     K. Johnson In                                     0.00             0.00              0.00              0.00                0.00           0.00          0.00         0.00
     V. Miller                                         0.00             0.00              0.00              0.00                0.00           0.00          0.00         0.00
     A. Jen                                          723.60             0.00              0.00             90.45              904.50       1,326.60        603.00        30.15
     M. Lin                                            0.00             0.00              0.00              0.00                0.00           0.00          0.00         0.00
     L. Lee                                            0.00             0.00              0.00              0.00                0.00           0.00          0.00         0.00
     T. Chung                                          0.00             0.00              0.00              0.00                0.00           0.00          0.00         0.00
     F. Jen                                        7,115.40        24,964.20          8,532.45          9,768.60           21,828.60      20,079.90     13,688.10     6,452.10
     C. Callahan                                       0.00             0.00              0.00              0.00                0.00           0.00          0.00         0.00
     C. DeCius                                       387.00            36.00             63.00             63.00              315.00         162.00         36.00         0.00
     H. Jen                                            0.00         3,469.50              0.00              0.00              135.00           0.00          0.00         0.00
     W. Wu                                             0.00             0.00              0.00              0.00                0.00           0.00          0.00         0.00
     N. Wolf                                           0.00             0.00              0.00              0.00                0.00           0.00          0.00         0.00
     I. Perez                                          0.00             0.00              0.00              0.00                0.00           0.00          0.00         0.00
     M. Chen                                           0.00           363.00             21.00              0.00               39.00           0.00        438.00        69.00
  Total Receiver Fees                              8,919.45        30,430.65          8,917.95         10,525.05           23,222.10      21,568.50     14,976.15     6,641.70

   Receiver Expenses
      Appraisal Services                               0.00             0.00              0.00              0.00               0.00            0.00         0.00          0.00
      Bank Fees                                      (14.92)            7.00             (7.00)             7.00              (7.00)      14,443.00       110.00          0.00
      Court/Document Filing Fees                       0.00             0.00              0.00              0.00               0.00            0.00         0.00          0.00
      Database Consulting Services                     0.00             0.00              0.00              0.00               0.00            0.00         0.00          0.00
      Document Destruction                             0.00             0.00              0.00              0.00               0.00            0.00         0.00          0.00
      Investigative Search Costs                       0.00             0.00            263.90              0.00             124.72            0.00       555.98        602.00
      Occupancy                                        0.00             0.00              0.00              0.00               0.00            0.00         0.00          0.00
      Office Telephone & Supplies                      0.00             0.00              0.00              0.00               0.00            0.00         0.00          0.00
      Postage & Delivery                              52.13           515.16              0.00             52.02               0.00            4.36       265.60         99.82
      Subpoena & Document Reproductio                  0.00             0.00              0.00              0.00               0.00            0.00         0.00          0.00
      Tax Return Preparation                           0.00             0.00              0.00          3,954.70               0.00            0.00         0.00          0.00
      Travel Expenses                                  0.00             0.00              0.00              0.00               0.00            0.00         0.00          0.00
      Website Support                                128.64           124.21             31.05             26.62              35.49           26.62         0.00          0.00
   Total Receiver Expenses                           165.85           646.37            287.95          4,040.34             153.21       14,473.98       931.58        701.82

Total Receiver Fees & Expenses                     9,085.30        31,077.02          9,205.90         14,565.39           23,375.31      36,042.48     15,907.73     7,343.52

Legal Fees & Expenses
   Barnes & Thornburg LLP
      Legal Fees                                       0.00              0.00             0.00              0.00                0.00           0.00          0.00         0.00
      Legal Costs                                      0.00              0.00             0.00              0.00                0.00           0.00          0.00         0.00
   Total Barnes & Thornburg LLP                        0.00              0.00             0.00              0.00                0.00           0.00          0.00         0.00


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                                                      ROBB EVANS & ASSOCIATES LLC
                            Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 13 of 19 PageID #:21640
                                                       Receiver of BC Capital Group, et al.
                                          Receivership Administration Expenses and Fund Balance by Month
                                                From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close




                                                   Sep 30, 18       Oct 31, 18       Nov 30, 18        Dec 31, 18        Jan 31, 19      Feb 28, 19      Mar 31, 19    Apr 30, 19
   Fund Transferred In
     Hiltz & Zanzig
        Legal Fees                                       0.00              0.00             0.00         68,024.47                0.00            0.00          0.00         0.00
        Legal Costs                                      0.00              0.00             0.00            254.27                0.00            0.00          0.00         0.00
     Total Hiltz & Zanzig                                0.00              0.00             0.00         68,278.74                0.00            0.00          0.00         0.00

      McKenna Long & Aldridge LLP
         Legal Fees                                      0.00              0.00             0.00              0.00                0.00            0.00          0.00         0.00
         Legal Costs                                     0.00              0.00             0.00              0.00                0.00            0.00          0.00         0.00
      Total McKenna Long & Aldridge LLP                  0.00              0.00             0.00              0.00                0.00            0.00          0.00         0.00

   Total Legal Fees & Expenses                           0.00              0.00             0.00         68,278.74                0.00            0.00          0.00         0.00

Total Expenses                                       9,085.31        23,515.57          9,500.63         88,844.13           23,375.31   12,630,848.73    211,574.26    20,289.65
Settlement Payment to BVI                                0.00              0.00             0.00              0.00                0.00            0.00          0.00         0.00




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                                   ROBB EVANS & ASSOCIATES LLC
         Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 14 of 19 PageID #:21641
                                    Receiver of BC Capital Group, et al.
                            Receivership Administration Expenses and Fund Balance by Month
                                     From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                                                                 1/1/18~            9/27/12       Estimate to
                                                           May 31, 19        Jun 30, 19          6/30/19            6/30/19         Close         TOTAL
Fund Transferred In
   BC Capital Group Limited                                        0.00            0.00            12,342.11          12,342.11         0.00        12,342.11
   Battoo IRA                                                      0.00            0.00                 0.00          28,640.93         0.00        28,640.93
   Concord Capital SPC                                             0.00            0.00                 0.00          72,000.00         0.00        72,000.00
   Dream Link Enterprises Inc.                                     0.00            0.00                 0.00           2,500.84         0.00         2,500.84
   FuturesOne F2 Investment Ltd.                                   0.00            0.00                 0.00           2,481.23         0.00         2,481.23
   MSSB SEP IRA C F                                                0.00            0.00                 0.00         141,787.45         0.00       141,787.45
   Newedge USA, LLC                                                0.00            0.00                 0.00       8,812,871.06         0.00     8,812,871.06
   New York Community Bank                                         0.00            0.00                 0.00           2,919.68         0.00         2,919.68
   Parallax Offshore Investors                                     0.00            0.00                 0.00          60,588.61         0.00        60,588.61
   Quantitative Global 3X Fund Ltd                                 0.00            0.00                 0.00       2,403,122.99         0.00     2,403,122.99
   Quantitative Tactical Aggressiv                                 0.00            0.00                 0.00       3,250,909.68         0.00     3,250,909.68
   Quantsoft Advisers LP                                           0.00            0.00                 0.00       1,290,564.32         0.00     1,290,564.32
   Quantum Blackstar/Brown Propert                                 0.00            0.00                 0.00         280,000.00         0.00       280,000.00
   Quantum Blackstarltd SA Trust                                   0.00            0.00                 0.00         113,896.20         0.00       113,896.20
   Reed Smith LLP IOLA                                             0.00            0.00            44,409.54      11,026,311.45         0.00    11,026,311.45
   Wells Fargo                                                     0.00            0.00                 0.00           8,697.12         0.00         8,697.12
   Whitebox Con Convert Arb Fund                                   0.00            0.00                 0.00       1,169,713.37         0.00     1,169,713.37
Total Fund Transferred In                                          0.00            0.00            56,751.65      28,679,347.04         0.00    28,679,347.04

MF Global Claims
  Futuresone A Investments LMT
     Claim 100002702                                               0.00            0.00                  0.00       102,333.40          0.00      102,333.40
     Claim 100002709                                               0.00            0.00                  0.00       542,281.48          0.00      542,281.48
  Total Futuresone A Investments LMT                               0.00            0.00                  0.00       644,614.88          0.00      644,614.88

   Futuresone F1 Investments LTD
      Claim 100002425                                              0.00            0.00                  0.00          2,368.47         0.00         2,368.47
   Total Futuresone F1 Investments LTD                             0.00            0.00                  0.00          2,368.47         0.00         2,368.47

   Futuresone F4 Investments LTD
      Claim 100002728                                              0.00            0.00                  0.00       265,316.72          0.00      265,316.72
   Total Futuresone F4 Investments LTD                             0.00            0.00                  0.00       265,316.72          0.00      265,316.72

Total MF Global Claims                                             0.00            0.00                  0.00       912,300.07          0.00      912,300.07

Fund Rec'd from SEC Settlement                                    0.00             0.00                 0.00        389,825.64          0.00      389,825.64
Interest Income                                                  21.99            21.29            34,574.78        159,604.58         21.64      159,626.22
Jewelry Auction Proceeds                                          0.00             0.00                 0.00         11,428.25          0.00       11,428.25
Legal Retainer Refund                                             0.00             0.00                 0.00            857.50          0.00          857.50

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                                      ROBB EVANS & ASSOCIATES LLC
            Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 15 of 19 PageID #:21642
                                       Receiver of BC Capital Group, et al.
                                   Receivership Administration Expenses and Fund Balance by Month
                                         From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                                                                     1/1/18~            9/27/12       Estimate to
                                                               May 31, 19        Jun 30, 19          6/30/19            6/30/19         Close         TOTAL
   Fund Transferred
   Storage           In Proceeds
           Unit Auction                                               0.00             0.00                 0.00           1,338.32         0.00         1,338.32
   Miscellaneous income                                              25.00             0.00                25.00              25.00         0.00            25.00
Total Funds Collected                                                46.99            21.29            91,351.43      30,154,726.40        21.64    30,154,748.04

Expenses
  Distributions
     Cashier's Check                                                   0.00            0.00         2,471,753.40       2,471,753.40         0.00     2,471,753.40
     Domesic Wires                                                     0.00            0.00         8,291,625.73       8,291,625.73         0.00     8,291,625.73
     International Wire                                                0.00      126,974.41         1,980,286.32       1,980,286.32         0.00     1,980,286.32
  Total Distributions                                                  0.00      126,974.41        12,743,665.45      12,743,665.45         0.00    12,743,665.45

   Claims Processing Expenses
      Legal Notice Advertising                                         0.00            0.00                 0.00         51,393.93          0.00       51,393.93
      Maven Liquidators                                                0.00            0.00           186,727.87        186,727.87          0.00      186,727.87
      Postage & Delivery                                               0.00            0.00             1,576.87         12,955.65        198.00       13,153.65
      Website Support                                                  0.00            0.00                 0.00            696.46          0.00          696.46
   Total Claims Processing Expenses                                    0.00            0.00           188,304.74        251,773.91        198.00      251,971.91

   Asset Recovery & Preservation
      Foreign Legal Fees & Costs
         Guernsey
            Babbe
               Legal Fees                                              0.00            0.00                  0.00      1,542,527.78         0.00     1,542,527.78
               Legal Costs                                             0.00            0.00                  0.00        109,726.04         0.00       109,726.04
            Total Babbe                                                0.00            0.00                  0.00      1,652,253.82         0.00     1,652,253.82

            Krys Global
               Fees                                                    0.00            0.00                  0.00       191,109.22          0.00      191,109.22
            Total Krys Global                                          0.00            0.00                  0.00       191,109.22          0.00      191,109.22

         Total Guernsey                                                0.00            0.00                  0.00      1,843,363.04         0.00     1,843,363.04

         Cayman Island
            Charles Adams Ritchie & Duckwor
               Legal Fees                                              0.00            0.00                  0.00        37,102.71          0.00       37,102.71
               Legal Costs                                             0.00            0.00                  0.00           229.06          0.00          229.06
            Total Charles Adams Ritchie & Duckwor                      0.00            0.00                  0.00        37,331.77          0.00       37,331.77

         Total Cayman Island                                           0.00            0.00                  0.00        37,331.77          0.00       37,331.77


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                                  ROBB EVANS & ASSOCIATES LLC
        Case: 1:12-cv-07127 Document #: 657-1 Filed: 08/30/19 Page 16 of 19 PageID #:21643
                                   Receiver of BC Capital Group, et al.
                            Receivership Administration Expenses and Fund Balance by Month
                                      From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                                                                  1/1/18~          9/27/12      Estimate to
                                                            May 31, 19        Jun 30, 19          6/30/19          6/30/19        Close       TOTAL
Fund Transferred In
     Bahamas
        Price Demers & Co.
            Legal Fees                                              0.00            0.00                  0.00        700.00          0.00       700.00
            Legal Costs                                             0.00            0.00                  0.00         45.00          0.00        45.00
        Total Price Demers & Co.                                    0.00            0.00                  0.00        745.00          0.00       745.00

        Delaney Partners
           Legal Fees                                               0.00            0.00             (8,843.59)    208,093.67         0.00    208,093.67
           Legal Costs                                              0.00            0.00                  0.00       9,087.28         0.00      9,087.28
        Total Delaney Partners                                      0.00            0.00             (8,843.59)    217,180.95         0.00    217,180.95

     Total Bahamas                                                  0.00            0.00             (8,843.59)    217,925.95         0.00    217,925.95

     Monaco
       Donald Manasse
          Legal Fees                                                0.00            0.00                  0.00      42,511.26         0.00     42,511.26
          Legal Costs                                               0.00            0.00                  0.00       9,625.56         0.00      9,625.56
       Total Donald Manasse                                         0.00            0.00                  0.00      52,136.82         0.00     52,136.82

        Maitre Geraldine Gazo
           Legal Fees                                               0.00            0.00                  0.00       5,026.72         0.00      5,026.72
        Total Maitre Geraldine Gazo                                 0.00            0.00                  0.00       5,026.72         0.00      5,026.72

     Total Monaco                                                   0.00            0.00                  0.00      57,163.54         0.00     57,163.54
     Harney WestWood & Riegels
        Legal Fees                                            14,270.00             0.00            20,270.00      448,311.60         0.00    448,311.60
        Legal Costs                                               84.36             0.00                84.36       69,666.94         0.00     69,666.94
     Total Harney WestWood & Riegels                          14,354.36             0.00            20,354.36      517,978.54         0.00    517,978.54
     Deacons
        Legal Fees                                                  0.00            0.00                  0.00       3,373.75         0.00      3,373.75
        Legal Costs                                                 0.00            0.00                  0.00          44.52         0.00         44.52
     Total Deacons                                                  0.00            0.00                  0.00       3,418.27         0.00      3,418.27
     Panama
        Patton, Moreno & Asvat
           Legal Fees                                               0.00            0.00                  0.00      10,000.00         0.00     10,000.00
        Total Patton, Moreno & Asvat                                0.00            0.00                  0.00      10,000.00         0.00     10,000.00

     Total Panama                                                   0.00            0.00                  0.00      10,000.00         0.00     10,000.00
                                                                                                                                                           Page 15 of 18
                                   ROBB EVANS & ASSOCIATES LLC
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                                    Receiver of BC Capital Group, et al.
                              Receivership Administration Expenses and Fund Balance by Month
                                      From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                                                                  1/1/18~           9/27/12       Estimate to
                                                            May 31, 19        Jun 30, 19          6/30/19           6/30/19         Close        TOTAL
Fund Transferred In
     United Kindom
        Stewarts Law LLP
            Legal Fees                                              0.00            0.00                  0.00         2,614.61          0.00      2,614.61
            Legal Costs                                             0.00            0.00                  0.00            23.27          0.00         23.27
        Total Stewarts Law LLP                                      0.00            0.00                  0.00         2,637.88          0.00      2,637.88

      Total United Kindom                                           0.00            0.00                  0.00         2,637.88          0.00      2,637.88

      Anguilla
        Webster Dyrud Mithcell
            Legal Fees                                              0.00            0.00                  0.00         5,150.00          0.00      5,150.00
            Legal Costs                                             0.00            0.00                  0.00           974.77          0.00        974.77
        Total Webster Dyrud Mithcell                                0.00            0.00                  0.00         6,124.77          0.00      6,124.77

      Total Anguilla                                                0.00            0.00                  0.00         6,124.77          0.00      6,124.77

   Total Foreign Legal Fees & Costs                           14,354.36             0.00            11,510.77      2,695,943.76          0.00   2,695,943.76

   JOL Fees & Costs
     Delaney Partners
        Legal Fees                                                  0.00            0.00                  0.00      509,677.78      10,000.00    519,677.78
        Legal Costs                                                 0.00            0.00                  0.00       12,378.56           0.00     12,378.56
     Total Delaney Partners                                         0.00            0.00                  0.00      522,056.34      10,000.00    532,056.34

      Pricewaterhouse Coopers
         JOL Fees                                                   0.00            0.00                  0.01      554,506.13      10,000.00    564,506.13
         JOL Staff                                                  0.00            0.00                  0.00      302,108.63           0.00    302,108.63
         JOL Costs                                                  0.00            0.00                  0.00      106,391.85           0.00    106,391.85
      Total Pricewaterhouse Coopers                                 0.00            0.00                  0.01      963,006.61      10,000.00    973,006.61

   Total JOL Fees & Costs                                           0.00            0.00                  0.01     1,485,062.95     20,000.00   1,505,062.95

   BVI Judgment Costs                                              0.00             0.00                 0.00         13,915.50          0.00      13,915.50
Total Asset Recovery & Preservation                           14,354.36             0.00            11,510.78      4,194,922.21     20,000.00   4,214,922.21

Receiver Fees & Expenses
   Receiver Fees
      R. Evans                                                     0.00             0.00                 0.00         4,975.20           0.00      4,975.20
      B. Kane                                                    150.75             0.00             8,502.30       296,766.45       4,522.50    301,288.95
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                                   ROBB EVANS & ASSOCIATES LLC
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                                    Receiver of BC Capital Group, et al.
                             Receivership Administration Expenses and Fund Balance by Month
                                   From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                                                               1/1/18~           9/27/12       Estimate to
                                                         May 31, 19        Jun 30, 19          6/30/19           6/30/19         Close        TOTAL
Fund Transferred
     K. Johnson In                                              0.00             0.00                 0.00        141,885.90          0.00     141,885.90
     V. Miller                                                  0.00             0.00                 0.00         30,361.05          0.00      30,361.05
     A. Jen                                                     0.00            30.15             5,336.55         93,284.10      4,522.50      97,806.60
     M. Lin                                                     0.00             0.00                 0.00        629,501.85          0.00     629,501.85
     L. Lee                                                     0.00             0.00                 0.00        341,629.65          0.00     341,629.65
     T. Chung                                                   0.00             0.00                 0.00        568,086.30          0.00     568,086.30
     F. Jen                                                 4,582.80         2,140.65           140,046.75        702,585.45     15,075.00     717,660.45
     C. Callahan                                                0.00             0.00                 0.00            427.50          0.00         427.50
     C. DeCius                                                 81.00             0.00             2,061.00         21,762.00      2,700.00      24,462.00
     H. Jen                                                     0.00             0.00             3,604.50          3,604.50          0.00       3,604.50
     W. Wu                                                      0.00             0.00                 0.00          2,387.50          0.00       2,387.50
     N. Wolf                                                    0.00             0.00                 0.00            300.00          0.00         300.00
     I. Perez                                                   0.00             0.00                 0.00            899.20          0.00         899.20
     M. Chen                                                   54.00             0.00               984.00          2,343.00        600.00       2,943.00
  Total Receiver Fees                                       4,868.55         2,170.80           160,535.10      2,840,799.65     27,420.00   2,868,219.65

   Receiver Expenses
      Appraisal Services                                        0.00             0.00                 0.00           577.50           0.00        577.50
      Bank Fees                                                 0.00             0.00            14,560.08        15,254.08           0.00     15,254.08
      Court/Document Filing Fees                                0.00             0.00                 0.00           325.29           0.00        325.29
      Database Consulting Services                              0.00             0.00                 0.00        10,135.25           0.00     10,135.25
      Document Destruction                                      0.00             0.00                 0.00             0.00         180.00        180.00
      Investigative Search Costs                                0.00           540.47             2,108.28         7,124.59           0.00      7,124.59
      Occupancy                                                 0.00             0.00                70.87            70.87           0.00         70.87
      Office Telephone & Supplies                               0.00             0.00                 0.00         2,379.76           0.00      2,379.76
      Postage & Delivery                                       65.67             0.00             1,110.19         4,483.17         779.81      5,262.98
      Subpoena & Document Reproductio                           0.00             0.00                 0.00         2,250.10           0.00      2,250.10
      Tax Return Preparation                                    0.00             0.00             3,954.70        22,194.17       8,890.00     31,084.17
      Travel Expenses                                           0.00             0.00                 0.00        35,240.78           0.00     35,240.78
      Website Support                                          26.62             0.00               541.20         5,119.14         177.44      5,296.58
   Total Receiver Expenses                                     92.29           540.47            22,345.32       105,154.70      10,027.25    115,181.95

Total Receiver Fees & Expenses                              4,960.84         2,711.27           182,880.42      2,945,954.35     37,447.25   2,983,401.60

Legal Fees & Expenses
   Barnes & Thornburg LLP
      Legal Fees                                                 0.00            0.00                  0.00      653,290.00           0.00    653,290.00
      Legal Costs                                                0.00            0.00                  0.00       12,144.45           0.00     12,144.45
   Total Barnes & Thornburg LLP                                  0.00            0.00                  0.00      665,434.45           0.00    665,434.45


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                                      ROBB EVANS & ASSOCIATES LLC
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                                       Receiver of BC Capital Group, et al.
                                 Receivership Administration Expenses and Fund Balance by Month
                                       From Inception (September 27, 2012) to June 30, 2019 and Estimate to Close



                                                                                                   1/1/18~            9/27/12       Estimate to
                                                             May 31, 19        Jun 30, 19          6/30/19            6/30/19         Close         TOTAL
   Fund Transferred In
     Hiltz & Zanzig
        Legal Fees                                                   0.00        5,263.20            84,575.47        274,098.73      18,000.00     292,098.73
        Legal Costs                                                  0.00            0.00               431.57            857.99           0.00         857.99
     Total Hiltz & Zanzig                                            0.00        5,263.20            85,007.04        274,956.72      18,000.00     292,956.72

      McKenna Long & Aldridge LLP
         Legal Fees                                                  0.00            0.00                  0.00          2,135.70          0.00        2,135.70
         Legal Costs                                                 0.00            0.00                  0.00            260.00          0.00          260.00
      Total McKenna Long & Aldridge LLP                              0.00            0.00                  0.00          2,395.70          0.00        2,395.70

   Total Legal Fees & Expenses                                       0.00        5,263.20            85,007.04        942,786.87      18,000.00     960,786.87

Total Expenses                                                 19,315.20       134,948.88        13,211,368.43      21,079,102.79     75,645.25   21,154,748.04
Settlement Payment to BVI                                            0.00            0.00         9,000,000.00       9,000,000.00          0.00    9,000,000.00

Fund Balance                                                                                                           75,623.61                          0.00




                                                                                                                                                                  Page 18 of 18
